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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA

 MICHAEL KRUMPAK,
     Plaintiff,

 v.

 CHEWY, INC.
       Defendant.
 ______________________________/

                             FIRST AMENDED COMPLAINT

        COMES NOW, Plaintiff, MICHAEL KRUMPAK, through his undersigned attorney,

 and files this Complaint against Defendant CHEWY, INC. and states:

                              JURISDICTION AND VENUE

        1.      This is an action arising under Title VII, 42 U.S.C. § 2000e and the Age

 Discrimination in Employment Act (ADEA), 29 U.S.C. § 621, et seq. This Court has

 jurisdiction pursuant to 28 U.S.C. § 1331 as this case is brought pursuant to these federal laws.

        2.      The Plaintiff MICHAEL KRUMPAK is and was a resident of Broward County,

 Florida at the time the dispute arose and is sui juris.

        3.      The Defendant, CHEWY, INC., is a Foreign Profit Corporation, registered to do

 business in Florida, with its headquarters located in Dania Beach, Florida.

        4.      Venue is proper in this Court because Plaintiff was a resident of Broward

 County, Florida, at the time the dispute arose, the Defendant’s headquarters are in Broward

 County, Florida, and the events giving rise to this case occurred within Broward County,

 Florida.

        5.      Plaintiff worked for Defendant as the Director of Learning from June of 2017

 through October 26, 2019, when Defendant terminated Plaintiff’s employment.


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         6.     The acts and/or omissions giving rise to this Complaint arose in Broward County,

 Florida.

                 COUNT I. DISCRIMINATION BASED ON SEX UNDER TITLE VII OF
                             THE CIVILRIGHTS ACT, 42 U.S.C. §2000e

         7.     Plaintiff re-alleges the factual and jurisdictional statements in paragraphs 1

 through 6 as though fully set forth herein.

         8.     Plaintiff is a homosexual man.

         9.     In September 2017, Plaintiff’s then supervisor, Stuart Horowitz, told the entire

 human resources leadership team that Plaintiff was a gay man who had a husband. Plaintiff had

 not previously discussed his sexual orientation at work, but Horowitz decided to make an issue

 out of it.

         10.    Immediately after this announcement, Plaintiff noticed that others at work began

 treating him differently, most notably Rob Lopez, who was the Vice President of Recruiting at

 the time, and who later became Plaintiff’s supervisor.

         11.    In December of 2017, at Chewy’s holiday party, at Horowitz’s home, when Rob

 Lopez saw Mr. Krumpak with his husband, Lopez immediately turned the other way and

 avoided speaking with Mr. Krumpak or looking at Mr. Krumpak or his husband for the entire

 duration of the party.

         12.    After Plaintiff’s supervisor, Horowitz, was terminated by Chewy, Rob Lopez

 became Mr. Krumpak’s supervisor.

         13.    Throughout Plaintiff’s employment, Lopez made homophobic remarks to

 Plaintiff. One example of this was on or about May 15, 2018. At the Human Resources

 leadership team staff meeting, a man who was wearing his hair in a bun walked by Lopez’s

 office, where the meeting was taking place. Mr. Krumpak said that he liked man buns, and
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 Lopez responded in front of the entire team, “I bet you do!” while laughing at Plaintiff, as did

 the other members of the leadership team. Lopez then turned to the Senior HR director and they

 both laughed in front of the entire human resources leadership team as they mocked Plaintiff.

        14.     Lopez also created a nickname for Plaintiff, which he used in a condescending,

 effeminate voice and tone, while laughing because Plaintiff is gay. He called Plaintiff

 “Krumpie” and encouraged others at work to do the same. Heterosexual human resources

 employees were not given nick names.

        15.     Lopez also expressed sexual orientation bias against Plaintiff in many other

 ways, such as recognizing heterosexual employees’ birthdays and work anniversaries, inviting

 them to lunch and purchasing lunch for them, while excluding Plaintiff and failing to celebrate

 Plaintiff’s personal and professional milestones.

        16.     Lopez also cancelled many meetings that were scheduled with Plaintiff, while he

 did not cancel meetings with Plaintiff’s heterosexual co-workers.

        17.     In about June of 2019, Defendant hired another director, named Kim Logan. Ms.

 Logan also reported to Lopez. Several weeks after Logan began working at Defendant, Plaintiff

 was looking up something in Defendant’s database, and noticed that his reporting structure had

 been changed so that he now reported to Logan rather than Lopez. Lopez had never informed

 Plaintiff of this change.

        18.     On or about July 15, 2019, Plaintiff opened up to Logan, telling her that he

 recently divorced his husband. Logan responded with a look of disgust, and she canceled

 meetings with Plaintiff and ignored him for a week. From that point on, Logan’s demeanor

 toward Plaintiff significantly changed, as if she were trying to derail Plaintiff with constantly

 changing expectations, directions, and feedback.


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        19.     When Plaintiff’s heterosexual co-workers had well-documented performance

 issues, they were offered performance conversations, job moves, additional training or coaching

 from outside consultants, and performance improvement plans. However, on October 26, 2019,

 Lopez and Logan met with Plaintiff and abruptly terminated Plaintiff and escorted from the

 premises without ever offering Plaintiff an opportunity to discuss or improve his performance or

 even any notice that his performance was lacking. In fact, when Logan and Lopez informed

 Plaintiff he was being terminated, they simply told him that Chewy was “moving in a new

 direction.” They also told him that his termination was not performance-related. Finally, they

 had Plaintiff abruptly escorted from the premises without allowing him to collect his personal

 belongings or to retrieve personal documents relating to his mother’s estate. When heterosexual

 co-workers were terminated, even for cause, they were permitted to retrieve their personal

 belongings and were not abruptly escorted from the building.

        20.     The only performance evaluation tool that Chewy used for its employees during

 Plaintiff’s employment was called the 9-Box. Plaintiff was rated as “well-placed” on that tool.

 His performance with Chewy was ranked very highly, and there were many heterosexual

 employees at the Director level at Chewy whose performance was ranked much lower than

 Plaintiff’s, but those heterosexual Directors were not terminated. Instead, they were given

 performance conversations, additional training, coaching, and opportunities to improve their

 performance, which Plaintiff was not provided before his termination.

        21.     Throughout his employment and with regard to his termination, Plaintiff was

 treated worse than similarly situated heterosexual men and women with whom he worked.

        22.     Because of Plaintiff’s sex and his sexual orientation, he was subjected to

 discrimination and was eventually terminated from his employment.


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        23.      On July 14, 2020, less than 300 days after Plaintiff’s termination, Plaintiff filed a

 Charge of Discrimination with the EEOC alleging sex discrimination by his employer.

        24.      On January 14, 2021, the EEOC issued to Plaintiff a Notice of Right to Sue.

        25.      Plaintiff is filing this Complaint within 90 days after receiving the Notice of

 Right to Sue from the EEOC. Thus, Plaintiff has complied with all pre-suit administrative

 requirements.

        26.      Defendant’s actions were intentional, willful, harsh, oppressive, reckless, and

 malicious, and as a further and proximate cause, Plaintiff has suffered severe emotional distress,

 pain, and suffering. The wrongs done by the Defendant were aggravated by its willfulness,

 wantonness, and maliciousness for which the law allows the imposition of exemplary damages.

 Plaintiff, therefore, seeks exemplary damages in a sum to be determined by the trier of fact to

 serve as punishment to deter Defendant from such conduct in similar situations, as well as lost

 wages, benefits, and Restricted Stock Units.

        27.      As a direct and proximate result of the Defendant’s conduct that violated 42

 U.S.C. §2000e, Plaintiff suffered damages, including lost wages, lost benefits, lost Restricted

 Stock Units, emotional distress, and attorneys’ fees and costs.

     COUNT II. AGE DISCRIMINATION UNDER THE AGE DISCRIMINATION IN
                   EMPLOYMENT ACT, 29 U.S.C. §621, et seq.

        28.      Plaintiff re-alleges the factual and jurisdictional statements in paragraphs 1

 through 6 as though fully set forth herein.

        29.      Plaintiff worked for Defendant from June of 2017 through October 26, 2019 as

 the Director of Learning.

        30.      At the time of Plaintiff’s termination, he was 47 years old.



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           31.   During the time that Plaintiff was employed by Defendant, Defendant terminated

 many director and higher level employees over the age of 40. They were terminated so that

 younger employees could be hired. This happened to Plaintiff, as well.

           32.   In March of 2019, Plaintiff’s supervisor, Stuart Horowitz, who was the Chief

 People Officer for Chewy, and was in his 50s was terminated. The person who replaced Mr.

 Horowitz as Plaintiff’s supervisor was Rob Lopez, age 38.

           33.   Defendant’s CEO at the time, Sumit Singh, was 37.

           34.   During the time that Lopez was Plaintiff’s supervisor, he repeatedly made

 comments about Plaintiff’s gray hair and how he was getting older because his hair was getting

 grayer.

           35.   In about June of 2019, Defendant hired Kim Logan, age 36, to a newly created

 position as the Head of Talent Management and Engagement. Ms. Logan reported directly to

 Lopez.

           36.   Logan, who was younger than 40, was essentially hired to replace Plaintiff.

           37.   As a direct and proximate result of the Defendant’s conduct that violated 29

 U.S.C. §621, et seq., Plaintiff suffered damages, including lost wages, lost benefits, lost

 restricted stock units, emotional distress, and attorneys’ fees and costs.

                                      PRAYER FOR RELIEF

           38.   WHEREFORE, Plaintiff requests lost wages, lost benefits, lost restricted stock

 units, compensatory damages for emotional distress and exemplary damages, and reasonable

 attorneys’ fees from Defendants under Title VII and the ADEA and any other applicable

 authority, to be proven at time of trial along with court costs, interest, and any other relief that

 this Court finds reasonable under the circumstances.

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                                           JURY DEMAND

        39.    The Plaintiff demands a trial by jury.

  Respectfully submitted this 28th day of December, 2021,

                                                        COANE AND ASSOCIATES, PLLC

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